
ON REHEARING
En Banc.
PER CURIAM.
For the reasons stated in the consolidated case of Michigan Wisconsin Pipe Line Company v. Walet, La.App., 225 So.2d 76, in which a separate decision is being rendered by us this date, the judgment appealed in the present case is amended and affirmed.
It is therefore ordered, adjudged and decreed that the judgment rendered herein be vacated and set aside, and that the trial *92court’s judgment is amended such that Michigan Wisconsin Pipe Line Company is ordered to pay to defendants, Louis B. Dugas and Verna Mae L. Dugas, the sum of Six thousand, fifty-five and 50/100 ($6,055.50) Dollars, together with interest of five per cent (5'%) per annum from August 9, 1958, until paid, which is adjudged to be the value of the right of way and damages resulting from the construction of the pipeline together with expenses found to be a direct consequence of construction of the pipeline; specifically reserving to defendants their claim for damages to their 1968 crop located outside the right of way but within a “cut” crossed by the pipeline. All costs are to be paid by Michigan Wisconsin Pipe Line Company.
With these amendments, the application for rehearing is denied. We reserve to Defendants-Appellants the right to apply for rehearing on this amended decree.
Original decree amended, rehearing denied. Rights reserved to defendants-appellants to apply for rehearing.
